EXHIBIT A
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REDACTED




                      REDACTED


                      REDACTED

                                 REDACTED
     REDACTED




   REDACTED


REDACTED



     REDACTED


                REDACTED
EXHIBIT C
                                                                         Adam J. Poteracki | Park Ridge
                                                                         O: 847.698.9600 Ext. 2258
                                                                         F: 847.698.9624
                                                                         E: apoteracki@robbinsdimonte.com


                                            October 4, 2022
    Via email to matilda.ellis@prudential.com
    Ms. Matilda Ellis
    The Prudential Insurance Company of America
    751 Broad Street
    Newark, NJ 07102

            Re:     Estate of George LaVenture, deceased, Case No. 2022 P 006442
                    Prudential Deferred Compensation Plan REDACTED

    Dear Ms. Ellis:

    I represent Brigitte Fauteux as nominated Executor of the estate of George LaVenture (the
    “Decedent”). Due to scheduling delays in the Circuit Court of Cook County, my client’s Petition to
    Admit Will to Probate and for Letters Testamentary is scheduled for hearing on October 20, 2022.

    My client has been made aware of recent efforts by the Decedent’s ex-wife, April Glueckert-
    LaVenture (“April”) to claim ownership of the above-referenced account following the Decedent’s
    death. However, the Decedent and April entered into a Marital Settlement Agreement (the
    “Settlement Agreement”) which was incorporated into a Judgment of Dissolution of Marriage
    entered by the Circuit Court of Cook County on February 11, 2021 and affects the ownership of the
    above-referenced account. A copy of the Marital Settlement Agreement is enclosed herewith for
    your reference. Pursuant to Section 5.4 of the Settlement Agreement, the Decedent was awarded the
    entirety of the above-referenced account “free and clear of any interest of April.” As such, the
    Decedent’s estate is the proper owner of the above-referenced account.

    Accordingly, I write to request that you place a hold on any distribution of the above-
    referenced account until such time as letters of office have been issued in the Decedent’s estate and
    any competing claims with respect to ownership of the above-referenced accounts has been resolved.
    Thank you for your prompt attention to the foregoing. Should you have any questions or require
    anything further, please contact the undersigned.

                                                    Sincerely,

                                                    ROBBINS DI MONTE, LTD.


                                                    By:         ______________________
                                                                Adam J. Poteracki
    Encl. – Settlement Agreement
    AJP/ajp
                                                  Chicago             Park Ridge
180 North LaSalle Street, Suite 3300, Chicago, Illinois 60601         216 West Higgins Road, Park Ridge, Illinois 60068
                         O: 312.782.9000 | F: 312.782.6690            O: 847.698.9600 | F: 847-698-9623

                                                    robbinsdimonte.com
EXHIBIT D
                                                           The Prudential Insurance Company of America
                                                           Human Resources – Corporate Compensation
                                                           751 Broad Street, 21st Floor
                                                           Newark, NJ 07102




November 15, 2022

Adam J. Poteracki, Esq.
Robbins DiMonte
216 West Higgins Rd.
Park Ridge, IL 60068
SENT VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED


Dear Mr. Poteracki:
        We are in receipt of your letter dated October 4, 2022, on behalf of Brigitte Fateaux,
executor of the Estate of George LaVenture (“Estate”), regarding the decedent’s account under
The Prudential Insurance Company of America Deferred Compensation Plan (“DCP”). The DCP
is designed to be (i) an employee benefit plan within the meaning of Section 3(3) of the Employee
Retirement Income Security Act of 1974 (“ERISA”), and (ii) an unfunded plan maintained by The
Prudential Insurance Company of America for a select group of management or highly
compensated employees within the meaning of Sections 201, 301, and 401 of ERISA.
        George LaVenture was a participant in the DCP. In 2011, Mr. LaVenture designated April
LaVenture as his designated beneficiary under the DCP and made no change of beneficiary
designation thereafter. We understand, however, that the Estate is making a competing claim to
Mr. LaVenture’s account under the Plan based upon language in a Property Settlement Agreement
incorporated into a Judgment of Divorce. In light of the competing claims, the Plan Administrator
of the DCP is not in a position at this time to make a determination as to the proper beneficiary of
Mr. LaVenture’s account under the DCP. Accordingly, we have placed a hold on Mr. LaVenture’s
account under the DCP.
        You implied in your letter that the Estate would be attempting to resolve the competing
claim situation with April LaVenture. Please advise whether progress has been made toward
resolving this matter. If you can reach a resolution of this dispute with April LaVenture, we will
require for George LaVenture’s Estate and April LaVenture to execute our form settlement and
release agreement before distributions are made from the DCP. If George LaVenture’s Estate and
April LaVenture do not notify us of a resolution within 30 days from the date of this letter, the
Plan Administrator may be forced to file an Interpleader action with the proper court to resolve
this issue. We will advise April LaVenture similarly.


                                                                                                  1
       Please note that Mr. LaVenture was also a participant under the American Skandia Life
Assurance Corporate Lifestyle Security Plan (“Skandia Plan”), which is sponsored by The
Prudential Insurance Company of America. The beneficiary there is neither the Estate nor April
LaVenture. The Plan Administrator for the Skandia Plan plans to proceed in the normal course of
business with payment of that account to the designated beneficiary.


Sincerely,



Matilda Ellis
On behalf of the Plan Administrator for the DCP




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EXHIBIT E
                                                            The Prudential Insurance Company of America
                                                            Human Resources – Corporate Compensation
                                                            751 Broad Street, 21st Floor
                                                            Newark, NJ 07102




November 15, 2022

April LaVenture
34 S. Quincy St
Hinsdale, IL 60521
SENT VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED


Dear Ms. LaVenture:
        We have been notified of the death of George LaVenture. At the time of his death, you
were named as the designated beneficiary of Mr. LaVenture’s account under The Prudential
Insurance Company of America Deferred Compensation Plan (“DCP”). We have, however,
received a competing claim to Mr. LaVenture’s account under the DCP from the Executor of Mr.
LaVenture’s Estate (“Estate”), based upon the language of a Property Settlement Agreement that
was incorporated into a Judgment of Divorce, which the Estate argues establishes that you waived
any right as a beneficiary to Mr. LaVenture’s account under the DCP. In light of the competing
claims, the Plan Administrator of the DCP is not in a position at this time to make a determination
as to the proper beneficiary of Mr. LaVenture’s account under the DCP. Accordingly, we have
placed a restriction on this account.
        It is our understanding that counsel for the Estate is Adam Poteracki, Esq. of Robbins
DiMonte. If you can reach a resolution of this dispute with George LaVenture’s Estate, we will
require for you and George LaVenture’s Estate to execute our form settlement and release
agreement before distributions are made from the DCP. If you and George LaVenture’s Estate do
not notify us of a resolution within 30 days from the date of this letter, we may be forced to file an
Interpleader action with the proper court to resolve this issue. We will advise counsel for the Estate
similarly.


Sincerely,



Matilda Ellis
On behalf of the Plan Administrator for the DCP
